AO 440 (Rev. 01/09)
              Case  Summons in a Civil Action - MIWD (Rev. 07/15)
                       1:23-cv-00918-HYJ-SJB                   ECF No.Print/Publish
                                                                       1-2, PageID.16
                                                                                    to .pdf Filed 08/30/23
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                       SUMMONS IN A CIVIL ACTION
     UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
             SUSAN MARIE NORTON,
  individually and on behalf of all others similarly                                                             Case No.
                      situated,                                                                                  Hon.
                                                                                               TO: Miquaela Carver
                                  v.
  CARLO KNECHT, ASHLEY URBANUS, ERIC                                                      ADDRESS:
                                                                                                           424 E. FRONT ST.
CALVERT, and MIQUAELA CARVER as individuals                                                                TRAVERSE CITY, MI 49686



A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                       C. Nicholas Curcio, Curcio Law Firm, PLC
                                                                                                       16905 Birchview Drive Nunica, MI 49448
YOU ARE HEREBY SUMMONED and required to serve
                                                                                                       Telephone: (616) 430-2201
upon plaintiff, an answer to the attached complaint or a motion                                        ncurcio@curciofirm.com
under Rule 12 of the Federal Rules of Civil Procedure within
  21        days after service of this sum mons on y ou (not                                         CLERK OF COURT
counting the day you received it). If y ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.
The Court has offices in the following locations:

   399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
 P.O. Box 698, 330 Federal Building, Marquette, MI 49855                                                                                                           Insert Today's Date
   107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
   113 Federal Building, 315 W. Allegan, Lansing, MI 48933


                                                                                                       By: Deputy Clerk                                                    Date


                                                                                  PROOF OF SERVICE
This summons for                                      Miquaela Carver                                                was received by me on                                             .
                                             (name of individual and title, if any)                                                                               (date)


 I personally served the summons on the individual at
on                                .                                                                                         (place where served)
                      (date)


  I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                            (name)

of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                          (date)


  I served the summons on                                                                                                         , who is designated by law to accept service
                                                                            (name of individual)

of process on behalf of                                                                                                                        on                                         .
                                                                            (name of organization)                                                                (date)


  I returned the summons unexecuted because                                                                                                                                            .
  Other (specify)                                                                                                                                                                     .

      My fees are $                                       for travel and $                                           for services, for a total of $                                    .
I declare under the penalty of perjury that this information is true.
Date:
                                                                                                                                       Server’s signature

Additional information regarding attempted service, etc.:
                                                                                                                                Server’s printed name and title



                                                                                                                                     Server’s address
